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       Attorneys for Amicus Curiae Mental Health Alliance




                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF OREGON
                                  PORTLAND DIVISION

UNITED STATES OF AMERICA                           Case No. 3:12-cv-02265-SI

               Plaintiff,

      vs.                                          DECLARATION OF COUNSEL

CITY OF PORTLAND,

               Defendant.


       I, Juan C. Chavez, submit the following declaration:

       I am of Counsel for the Mental Health Alliance, and I make this declaration in support of

our Response Brief to City’s Motion for Reconsideration for the purpose of identifying exhibits.

My statements are true to the best of my own knowledge, except as to those matters which are

therein alleged on information and belief, and as to those matters, I believe them to be true.

       1. I am one of the Counsels of Record for the Amicus Curiae Mental Health Alliance.

       2. Exhibit 1 is a true and correct copy of Ballot Measure 26-217.



                                DECLARATION OF COUNSEL
                                       Page 1 of 2
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3. Exhibit 2 is a true and correct copy of Resolution 37527.

4. Exhibit 3 is a true and correct copy of an excerpt from the Portland City Auditor’s

   2022-23 proposed budget.

I hereby declare that above statement is true to the best of my knowledge and belief,

and that I understand it is made for use as evidence in court and is subject to

penalty for perjury.

DATED: September 26, 2024

                                     /s/ Juan C. Chavez
                                     Juan C. Chavez, OSB 136428
                                     Of Counsels to Amicus Mental Health Alliance




                        DECLARATION OF COUNSEL
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                                                EXHIBIT A



                                       Proposed Charter Changes

                                               PREAMBLE

                                         Chapter 2: Government

                             Article 10: Community Police Oversight Board

Section 2-1001. City of Portland Community Police Oversight Board. A Board is hereby authorized and
shall be established upon compliance with any legal obligations the City may have under the Public
Employees Collective Bargaining Act, other state and federal laws, and upon adoption by City Council of
an implementing Ordinance. The mission of the City of Portland Community Police Oversight Board
(Board) is to independently investigate Portland Police Bureau sworn employees and supervisors thereof
promptly, fairly, and impartially, to impose discipline as determined appropriate by the Board, and to
make recommendations regarding police practices, policies and directives to the Portland Police Bureau
and with a primary focus on community concerns. The final name of this Board will be established by
City Code.

Section 2-1002. Nature of the Board. Board members shall be appointed by approval of Council to a
term of years established in City Code. Members may not be removed from the Board prior to the
completion of their term except for cause. Successors to an unexpired term shall be appointed by
approval of Council for the remainder of the term. The Board shall make provisions to ensure its
membership includes representation from diverse communities including those from diverse
communities and with diverse lived experiences, particularly those who have experienced systemic
racism and those who have experienced mental illness, addiction, or alcoholism.

Section 2-1003. Restrictions on Board Membership. People currently employed by a law enforcement
agency and their immediate family members are not eligible for service on the Board. People who were
formerly employed by a law enforcement agency are not eligible for service on the Board.

Section 2-1004. Budget of the Board. Funding for the Board shall be proportional to be no less than 5
percent of the Police Bureau’s Annual Operational Budget.

Section 2-1005. Professional Staff of the Board. The Board shall hire a Director to manage the
professional administrative staff and professional investigators, and to make operational and
administrative decisions. The Director is a “Bureau Director” for purposes of Charter section 4-301 and
shall be appointed by, and serve at the will and pleasure of, the Board. Professional staff of the Board,
other than the Director, shall be appointed by and serve under the direction of the Director as classified
employees.

Section 2-1006. Independent Authority. The Board shall have authority to exercise independent
judgment in performing all legally assigned powers and duties. The Mayor, City Council, Auditor, and
City departments, bureaus and other administrative agencies shall not interfere in the exercise of the
Board’s independent judgment. The physical office of the Board shall be located outside of a Portland
Police Bureau facility.



Exhibit A                                                                                                1
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Section 2-1007. Powers of the Board.

        (a)      The Board shall have the power to the full extent allowed by law to receive and
                 investigate complaints including the power to subpoena and compel documents, and to
                 issue disciplinary action up to and including termination for all sworn members and the
                 supervisors thereof within the Portland Police Bureau.

        (b)      The Board shall have the authority to make policy and directive recommendations to the
                 Portland Police Bureau and City Council. The Portland Police Bureau shall consider and
                 accept or reject all policy or directive recommendations made by the Board. If the
                 Portland Police Bureau rejects a policy or directive recommendation, then at the
                 request of the Board, City Council must consider and vote to accept or reject the policy
                 recommendations received from the Board. Council’s decision will be binding on the
                 Portland Police Bureau.

        (c)      The Board shall have the authority and ability to gather and compel all evidence, to
                 access all police records to the extent allowed by federal and state law, and the ability
                 to compel statements from witnesses including officers. The Board shall make
                 provisions for regular and open meetings, public transparency, and reporting on the
                 Board’s activities. One of the goals of the Board will be to remove barriers for Board
                 members to fully participate in the work of the Board.

        (d)      The Board shall have the power to compel sworn members of the Portland Police
                 Bureau and their supervisors to participate in investigations and to completely and
                 truthfully answer all questions. Refusal to truthfully and completely answer all questions
                 may result in discipline up to and including termination.

Section 2-1008. Duties of the Board. The board shall have the authority to investigate certain Police
actions, including but not limited to;

        (a)      All deaths in custody and uses of deadly force.
        (b)      All complaints of force that result in injury, discrimination against a protected class,
                 violations of federal or state constitutional rights.
        (c)      The Board may investigate other complaints or incidents of misconduct as they see fit or
                 as mandated by City Code.

Section 2-1009. Severability. For the purpose of determining constitutionality, every section, subsection
and subdivision thereof of this Section, at any level of subdivision, shall be evaluated separately. If any
section, subsection or subdivision at any level is held invalid, the remaining sections, subsections and
subdivisions shall not be affected and shall remain in full force and effect. The courts shall sever those
sections, subsections and subdivisions necessary to render this Section consistent with the United States
Constitution and with the Oregon Constitution. Each section, subsection and subdivision thereof, at any
level of subdivision, shall be considered severable, individually or in any combination.




Exhibit A                                                                                                    2
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                                            EXHIBIT B
Community Police Oversight Board
CAPTION (10 words; Reasonably identifies subject matter of petition)

Amends Charter: Authorizes new, independent community police oversight board. (9)

QUESTION (20 words; Plainly phrases chief purpose of the measure, so that affirmative response
corresponds to affirmative vote)

Shall Charter be amended to authorize new, independent community police oversight board to
investigate complaints against Portland Police, impose discipline? (20)

SUMMARY (175 words; Concise and impartial statement summarizing measure and major effects)

The measure adds a new Charter section authorizing an independent body to: investigate
complaints against police employees; investigate all deaths in custody, uses of deadly force,
complaints of force that result in injury, discrimination against protected classes, violations of
constitutional rights; impose discipline deemed appropriate by the Board; recommend policy
focused on community concerns to the Police Bureau and City Council. Board members
appointed by approval of City Council. Board membership shall include representation from
diverse communities, including those who have experienced systemic racism and historic
overpolicing. Current, former employees of law enforcement agencies and their immediate
family members may not serve on the Board. The Board’s funding shall be no less than 5% of
the Police Bureau’s annual operational budget. The Board shall appoint a Director who serves
at the pleasure of the Board and who will, in turn, appoint staff and investigators.
Board powers include:

    x       Investigate complaints
    x       Subpoena documents
    x       Access police records
    x       Compel witness statements, including from police officers
    x       Impose discipline, including termination

Other provisions to be established by City Code. (175)




Exhibit B
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RESOLUTION No. 37527 As Amended
Establish selection criteria for a Commission to craft the new police oversight system
authorized by voters at the November 3, 2020 general election (Resolution)
WHEREAS, on July 30th, 2020 the Portland City Council voted to refer a Charter
Amendment to the voters of Portland that would authorize the creation of a new police
oversight system; and
WHEREAS, on November 3rd, 2020 Portland voters approved the new Charter
Amendment supporting the measure by more than 82%; and
WHEREAS, the Charter language provides a framework for a police oversight system;
and
WHEREAS, an inclusive, diverse community driven process is needed to develop
recommendations to City Council for the structure and processes of the new oversight
system; and
WHEREAS, it is of critical importance that there be a lengthy, involved process where
consideration is given to the complex topic of police accountability and the various
impacts of a police oversight system; and
WHEREAS, in 2017 City Council passed Resolution 37328, which created the Advisory
Bodies Program led by the Office of Community and Civic Life (Civic Life) to provide
standards for accountable, transparent Advisory Boards, Committees, and
Commissions and best practices for diverse membership opportunities;
NOW THEREFORE BE IT RESOLVED THAT, the City Council approves an application
process for a new Commission that will craft and provide City Council with
recommendations for the details for establishing a new police oversight system in
accordance with Exhibit A; and
BE IT FURTHER RESOLVED THAT, the Commission is tasked with developing the
structure and processes of the new oversight system and ensuring that the
requirements of the framework within the City Charter are met; and
BE IT FURTHER RESOLVED THAT, upon adoption of this resolution by-laws for the
Commission will be crafted in a form substantially similar to Exhibit B, and an
application will be developed in cooperation with Civic Life, Office of Management and
Finance, and review from City Council; and
BE IT FURTHER RESOLVED THAT, upon adoption of this resolution and completion of
an application, Civic Life will open and manage an application and recruitment for the
Commission; and
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                                       Exhibit 2
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BE IT FURTHER RESOLVED THAT, after completion of the application process, Civic
Life shall provide the applicant profiles to the Council for Review, the Council members
will each select four candidates based on agreed selection criteria whereafter Council
shall appoint candidates to the Commission; and
BE IT FURTHER RESOLVED THAT, upon appointment of the Commission members
an additional resolution will be brought forward identifying and defining the scope of
work for this new Commission’s tenure.




 Adopted by the Council: December 16, 2020                 Mary Hull Caballero
                                                           Auditor of the City of Portland
 Commissioner Jo Ann Hardesty                              By
 Prepared by: Derek Bradley
 Date Prepared: December 8, 2020                                                Deputy
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                                                                Agenda     3

                                                           RESOLUTION NO.               37527 As Amended
                                                                      Title

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               INTRODUCED BY                                                 'HFHPEHU
                                                     CLERK USE: DATE FILED ________________________
             Commissioner/Auditor:
             Commissioner Hardesty

         COMMISSIONER APPROVAL                                                     Mary Hull Caballero
                                                                              Auditor of the City of Portland
Mayor—Finance & Administration – Wheeler

Position 1/Utilities - Fritz                                   /;~~ne
                                                     By: ______________________________________
                                                              ____________________________
Position 2/Works -                                                     Deputy
Position 3/Affairs - Hardesty      <v-~~
                                                     ACTION TAKEN:
Position 4/Safety - Eudaly

              BUREAU APPROVAL
Bureau:
Bureau Head:

Prepared by:                   Derek Bradley
Date Prepared:                 12/8/2020

Impact Statement
Completed       X
                ‫܆‬         Amends Budget ‫܆‬

Portland Policy Document


                      n
If “Yes” requires City Policy paragraph stated
in document.
Yes ‫܆‬      No ‫܆‬ [
City Auditor Office Approval:
required for Code Ordinances

City Attorney Approval:
required for contract, code. easement,
                              asement,
franchise, charter, Comp Plan n
                                  #'~ /<qf31-Bt t,n,
                                          V

Council Meeting Date
  12/16/2020


                                                                     FOUR-FIFTHS AGENDA           COMMISSIONERS VOTED
                           AGENDA                                                                 AS FOLLOWS:

TIME CERTAIN ‫܆‬        LJ
                      [
                                                                                                                 YEAS   NAYS
Start time: 4pm
                -                             KU             1. Fritz                           1. Fritz
Total amount of time needed:
                                          -
(for presentation, testimony and discussion)                   2.                                 2.

                                                               3. Hardesty                        3. Hardesty
CONSENT ‫܆‬
                                                               4. Eudaly                          4. Eudaly
REGULAR ‫܆‬
Total amount of time needed:
                                          -
(for presentation, testimony and discussion)
                                                               Wheeler                            Wheeler
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                                                                                        Office of the City Auditor


                                                  Bureau Summary
Mission
                                  To promote open and accountable government by providing independent and
                                  impartial reviews, access to public information, and services for City government
                                  and the public.

Overview
                                  Portland has had a City Auditor since 1868 and an elected City Auditor since 1891.
                                  As the sixth elected official in Portland’s government, the Auditor is functionally
                                  independent of City Council and accountable only to the public with the exception
                                  of the budget-setting process. The Auditor continues to press City Council to
                                  approve a framework to set the Auditor’s Office budget in a way that respects its
                                  unique independent role in City government and removes the perception and
                                  opportunity for Council to use the budget to undermine accountability it does not
                                  welcome.


                                  The Auditor’s Office has fifty-one employees carrying out their work in five
                                  divisions. Three divisions have oversight and accountability responsibilities: Audit
                                  Services, Independent Police Review, and the Ombudsman’s Office. Archives and
                                  Records Management oversees the Portland Archives and Records Center and
                                  helps City offices and bureaus meet government records retention requirements.
                                  Operations Management provides administrative support across all Auditor’s
                                  Office divisions and oversees the Council Clerk, City Elections, and the Lobbyist
                                  and Political Consultants Registration Programs, which are Citywide
                                  responsibilities.


                                  The Auditor’s Office assumes that Independent Police Review will be managed by
                                  another agency designated by the Mayor and Council by July 1, 2022. To balance
                                  the Auditor’s Office budget, funding for Independent Police Review is reduced to
                                  zero in its program offer and realigned to a placeholder until the Mayor and
                                  Council designate the agency to receive it and manage Independent Police
                                  Review’s operations. The transfer will reduce requested staffing in the Auditor’s
                                  Office to 39 employees in four divisions.


Strategic Direction


Transfer                          Voters approved a new community board for police oversight in November 2020.
Independent Police                Council made clear that employees in Independent Police Review would not be
Review                            transferred to staff the new board, which is not expected to be operational before
                                  December 2026. In the meantime, the City risks losing its existing independent
                                  civilian oversight expertise given the uncertainty of future employment. It also
                                  jeopardizes the City’s ability to regain compliance with its settlement agreement



City of Portland | FY 2022-23 Requested Budget                                                                         3
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Office of the City Auditor

                       with the Justice Department. Council has rejected several proposals from the
                       Auditor to stabilize Independent Police Review during the transition years and has
                       not offered a viable plan of its own. Council has the option for the Auditor’s Office
                       to retain the division under terms outlined in the supplemental section of this
                       document. If Council decides against the terms, it will assume responsibility for
                       relocating and managing Independent Police Review, effective July 1, 2022.

Resolve Structural     We renew our commitment to work with Council on a framework to set the
Conflicts in Setting   Auditor’s budget that protects the office’s independence and respects Council’s
the Auditor’s Budget   fiduciary responsibilities. We submit an updated proposal for a five-year funding
                       model to implement the intent of the Charter Section 2-505. A similar funding
                       proposal submitted last year to the Charter Review Commission remains under
                       consideration as a Charter amendment. The Auditor’s Office prefers designing a
                       funding model in a budget note to allow for adjustments as needed, but a Charter
                       proposal for voters to consider is a viable option. It also would be in keeping with
                       Council’s decision to refer to voters a proposal to guarantee funding for a police
                       accountability board as a percentage of the Police Bureau’s budget. Voters
                       supported the guaranteed budget. Information about the funding model we prefer
                       is in the supplemental section.



Implement strategic    An officewide strategic plan will be finalized this spring. Goals focus on anti-
plan goals             racism, office culture, historically underserved communities, and equitable access
                       to services and information. Elements of the plan are underway or will be by the
                       end of this fiscal year, but the planning horizon is through Fiscal Year 2022-23.




Transition to a new    The Auditor’s Office will have a new leader on January 1, 2023 and planning is
Auditor                underway to ensure a smooth transition and onboarding phase.




4                                                                          City of Portland | FY 2022-23 Requested Budget
